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           12                                                  Counsel for Plaintiff WPEngine, Inc.

           13

           14                                 UNITED STATES DISTRICT COURT

           15                              NORTHERN DISTRICT OF CALIFORNIA
           16                                      SAN FRANCISCO DIVISION
           17    WPENGINE, INC., a Delaware corporation,           Case No. 3:24-cv-06917-AMO
           18                         Plaintiff,                   JOINT STIPULATION AND [PROPOSED]
                                                                   ORDER EXTENDING TIME TO FILE
           19           v.                                         REPLY IN SUPPORT OF DEFENDANTS’
                                                                   MOTION TO DISMISS AND STRIKE AND
           20    AUTOMATTIC INC., a Delaware corporation;          ADVANCING HEARING DATE ON DKTS.
                 and MATTHEW CHARLES MULLENWEG,                    68, 71 AND 73
           21    an individual,
                                                                   Judge: Hon. Araceli Martinez-Olguín
           22                          Defendants.
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Gibson, Dunn &    JOINT STIPULATION AND [PROPOSED] ORDER EXTENDING TIME TO FILE REPLY IN SUPPORT OF DEFENDANTS’
Crutcher LLP
                  MOTION TO DISMISS AND STRIKE AND ADVANCING HEARING DATE ON DKTS. 68, 71 AND 73 - CASE NO. 3:24-CV-
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             1          Pursuant to Civil Local Rules 6-1(b), 6-2, and 7-12, Defendants Automattic Inc. and Matthew
             2   Charles Mullenweg (“Defendants”) and Plaintiff WPEngine, Inc. (collectively, the “Parties”), by and
             3   through their respective counsel, hereby stipulate and agree to the following:
             4       BRIEFING ON DEFENDANTS’ MOTION TO DISMISS AND STRIKE PLAINTIFF’S
             5                                        AMENDED COMPLAINT
             6          WHEREAS, on December 2, 2024, on the Parties’ stipulation, the Court ordered that
             7   Defendants’ motion to dismiss and strike WPE’s amended complaint be filed by December 19, 2024
             8   (“Motion”), that Plaintiff’s opposition to the Motion be filed by January 22, 2025 (“Opposition”), and
             9   that Defendants’ reply in support of the Motion be filed by February 5, 2025 (Dkt. 61);
           10           WHEREAS, on December 19, 2024, Defendants filed the Motion (Dkt. 68), which was set for
           11    hearing on June 5, 2025;
           12           WHEREAS, on January 22, 2025, Plaintiff filed its Opposition to the Motion (Dkt. 75);
           13           WHEREAS, on January 22, 2025, Defendants retained new counsel in this matter, Gibson
           14    Dunn, as detailed in the accompanying Declaration of Rosemarie T. Ring, who will substitute in and
           15    replace existing counsel who are withdrawing from representing Defendants in this action;
           16           WHEREAS, as also detailed in the Ring Declaration, to permit Defendants’ new counsel time
           17    to transition into the case and adequately prepare their reply in support of the Motion, Defendants
           18    request a two-week extension of the time to file their reply until February 19, 2025, which Plaintiff
           19    does not oppose, and which will not delay resolution of the case given that the hearing on the Motion
           20    is several months away;
           21           WHEREAS, in light of the above, the Parties have stipulated that, subject to the Court’s
           22    approval, Defendants’ deadline to file their reply in support of the Motion will be extended by two
           23    weeks until February 19, 2025;
           24           NOW THEREFORE, the Parties stipulate that, subject to the Court’s approval, Defendants’
           25    deadline to file their reply in support of the Motion will be extended to February 19, 2025; The
           26    requested extension will not affect any other date previously ordered by the Court, or the overall
           27    schedule in this case.
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Gibson, Dunn &    JOINT STIPULATION AND [PROPOSED] ORDER EXTENDING TIME TO FILE REPLY IN SUPPORT OF DEFENDANTS’
Crutcher LLP
                  MOTION TO DISMISS AND STRIKE AND ADVANCING HEARING DATE ON DKTS. 68, 71 AND 73 - CASE NO. 3:24-CV-
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             1       HEARING ON DEFENDANTS’ MOTION TO DISMISS AND STRIKE PLAINTIFF’S
             2                                         AMENDED COMPLAINT
             3           WHEREAS, Plaintiff’s counsel has a conflict with the June 5, 2025 hearing date on the Motion
             4   (which date was selected unilaterally by Defendants based on the Court’s listed availability) due to a
             5   family graduation, and has requested moving the hearing date up to a mutually convenient date in May
             6   2025;
             7           WHEREAS, Defendants do not object to moving the hearing date up to May 8, 2025;
             8           WHEREAS, Michael Willman, the movant on the Motion to Intervene (Dkt. 70) and Motion
             9   for Contempt (Dkt. 71) filed on January 13, 2025, and also set for hearing on June 5, 2025 (Dkt. 74),
           10    has been contacted by Defendants’ counsel and has confirmed that he also has no objection to moving
           11    the hearing date on all three motions (Dkts. 68, 70 and 71) up to May 8, 2025;
           12            WHEREAS, the Parties understand that there are no publicly available hearing dates currently
           13    listed on the Court’s calendar for May 2025, but respectfully request that, in light of Plaintiff’s
           14    counsel’s scheduling conflict, if the Court is able to accommodate Plaintiff’s request to move the June
           15    5, 2025 hearing date to May 8, 2025, that the hearing be moved up accordingly;
           16            WHEREAS, if the Court is unable to move the June 5, 2025 hearing date to May 8, 2025, the
           17    Parties request that the June 5 hearing stay in place (and not be continued to a later date) in order to
           18    avoid delaying the schedule in this matter, and Plaintiff’s counsel will adjust its staffing;
           19            WHEREAS, in light of the above, the Parties have stipulated that, subject to the Court’s
           20    approval, the hearing date on all three motions (Dkts. 68, 70 and 71) be moved up to May 8, 2025,
           21    which non-party Mr. Willman does not oppose;
           22            NOW THEREFORE, the Parties stipulate that, subject to the Court’s approval, and given Mr.
           23    Willman’s consent, the June 5, 2025 hearing date on all three motions (Dkts. 68, 70 and 71) be moved
           24    up to May 8, 2025; The requested hearing date modification will not affect any other date previously
           25    ordered by the Court, or the overall schedule in this case; The new requested hearing date of May 8,
           26    2025, is still more than 11 weeks after the proposed February 19, 2025 deadline for Defendants’ reply
           27    and thus remains compliant with the Court’s Standing Order. See Nov. 22, 2023 Standing Order for
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Gibson, Dunn &    JOINT STIPULATION AND [PROPOSED] ORDER EXTENDING TIME TO FILE REPLY IN SUPPORT OF DEFENDANTS’
Crutcher LLP
                  MOTION TO DISMISS AND STRIKE AND ADVANCING HEARING DATE ON DKTS. 68, 71 AND 73 - CASE NO. 3:24-CV-
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             1   Civil Cases § B. The requested modification will not affect any other date previously ordered by the
             2   Court, or the overall schedule in this case.
             3          IT IS SO STIPULATED.
             4

             5   DATED: January 28, 2025                        GIBSON, DUNN & CRUTCHER LLP
             6
                                                                By:             /s/ Rosemarie T. Ring
             7                                                                     Rosemarie T. Ring
                                                                Counsel for Defendants Automattic Inc. and
             8                                                  Matthew Charles Mullenweg
             9
                 DATED: January 28, 2025                        QUINN EMANUEL URQUHART & SULLIVAN LLP
           10

           11                                                   By:              /s/ Rachel Kassabian
                                                                                    Rachel Kassabian
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           13                                                   Counsel for Plaintiff WPEngine, Inc.

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Gibson, Dunn &    JOINT STIPULATION AND [PROPOSED] ORDER EXTENDING TIME TO FILE REPLY IN SUPPORT OF DEFENDANTS’
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             1                                        [PROPOSED] ORDER
             2          NOW THEREFORE, pursuant to the Joint Stipulation and [Proposed] Order Extending Time
             3   To File Reply in Support of Defendants’ Motion To Dismiss and Strike and Advancing Hearing Date
             4   on Dkts. 68, 71 and 73 (the “Joint Stipulation”), the Court ORDERS as follows:
             5      1. Defendants’ reply in support of Defendants’ Motion to Dismiss and Strike the Amended
             6          Complaint (Dkt. 68) shall be filed on or before February 19, 2025.
             7      2. The hearing on Defendants’ Motion to Dismiss and Strike the Amended Complaint (Dkt. 68)
             8          and non-party Michael Willman’s Motion to Intervene (Dkt. 70) and Motion for Contempt (Dkt.
             9          71) shall be advanced from June 5, 2025, to May 8, 2025.
           10           IT IS SO ORDERED.
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           12    Dated: _____________, 2025
           13
                                                             By:
           14                                                           Honorable Araceli Martinez-Olguin
                                                                           United States District Judge
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Gibson, Dunn &    JOINT STIPULATION AND [PROPOSED] ORDER EXTENDING TIME TO FILE REPLY IN SUPPORT OF DEFENDANTS’
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             1                                         E-FILING ATTESTATION
             2           Pursuant to Civil Local Rule 5-1(i)(3) regarding signatures, I hereby attest that counsel for
             3   Plaintiff has concurred in this filing.
             4
                                                                 /s/ Rosemarie T. Ring
             5                                                   Rosemarie T. Ring

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Gibson, Dunn &    JOINT STIPULATION AND [PROPOSED] ORDER EXTENDING TIME TO FILE REPLY IN SUPPORT OF DEFENDANTS’
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